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                                                              Paycheck Protection Program                                                        0MB Control No .. 3245-0407
                                                                Borrower Application Form                                                         Expiration Date: 09/30/2020


        Check One:         • Sole proprietor • Partnership • C-Corp • S-Corp ii LLC                                 DBA or Tradeuame if Applicable
                           • Independent contractor • Eligible self-employed individual
                           • 501(c)(3)nonprofit • 501(c)(l9)veteransorganization
                           • Tribal business (sec. 3l(b)(2)(C) of Small Business Act) • other
  "'"·····
                                  Allison Baver Entertainment
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                                                                                                                                                                          , ,:    :



                                                                                                              Allison Baver

                                         $   4,769,583




                                                                Applicant Ownership
    List all owners of 20% or more of the equity of the Applicant. Attach a separate sheet ifnecessary.




                                                                                                                                                              j   Yes   I No           j
             l.   Is the Applicant or any owner of the Applicant presently suspended, debarred, proposed for deban11ent, declared ineligible,
                  voluntarily excluded from participation in this transaction by any Federal department or agency, or presently involved in any
                  bankruptcy?                                                                                                                                     •            1-1
             2.   Has the Applicant, any owner of the Applicant, or any business owned or controlled by any of them, ever obtained a direct or
                  guaranteed loan from SBA or any other Federal agency that is currently delinquent or has defaulted in tl1e last 7 years and
                                                                                                                                                                  •              [ii
                  caused a loss to the government?

             3.   Is the Applicant or any owner of the Applicant an owner of any other business, or have common management with, any other
                  business? If yes, list all such businesses and describe the relationship on a separate sheet identified as addendum A.
                                                                                                                                                                    •
                                                                                                                                                                  I!]

             4.   Has the Applicant received.an SBA Economic Injury Disaster Loan between January 31, 2020 and April 3, 2020? If yes,
                  provide details on a separate sheet identified as addendum B.
                                                                                                                                                                  • •

             5.   Is the Applicant (if an individual) or a11y individual owning 20% or more of the equity oftl1e Applicant sul:\ject
                  to ai1 indictment, criminal infonnation, arraigmnent, or other meai1s by which formal criminal charges are
                  brought in any jurisdiction, or presently incarcerated, or on probation or parole?
                                                                                                                                                         •
                                                                                 AB

             6,   Within the last 5 years, for any felony, has the Applicant (if an individual) or any owner oftl1e Applicant 1)
                  been convicted; 2) pleaded guilty; 3) pleaded nolo contendere; 4) been placed on pretrial diversion; or 5) been                        D
                  placed 011 ai1y form of parole or probatio11 (i11clt1di11g probation before judgment)?
                                                                                 AB

             7.   Is the United States the principal place ofresidence for all en1ployees of the Applicant i11cluded in the
                  Applicant's payroll calculation above?                                                                                                              •
             8.   Is the Applicant a franchise that is listed in the SBA's Franchise Directory?
                                                                                                                                                         •
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                                                          Paycheck Protection Program
                                                            Borrower Application Form

 By Signing Below, You Make the Following Representations. Authorizations, and Certifications

 CER11FICAITONS AND AUTHORIZA'ITONS
 I certify that:
         • I have read the statements included in th.is fom1, including the Statements Required by Law and Executive Orders, and I m1derstand them.
         • The Applica:11t is eligible to receive a loan m1der the rules in effect at the time this application is submitted that have been issued by the
              Small Business Administration (SBA) implementing the Paycheck Protection Program under Division A, Title I of the Coronavirus
              Aid, Relief, and Economic Security Act (CARES Act) (the Paycheck Protection Program Rule).
         • The Applicant (1) is a11 independent contractor, eligible self-employed individual, or sole proprietor or (2) employs no more
              than the greater of 500 or employees or, if applicable, the size stai1dard in number of employees established by the SBA in 13
              C.F .R. 121.20 I for the Applicant's industry.
         •    I will comply, whenever applicable, with the civil rights and other limitations in tllis fonn.
         • All SBA loan proceeds will be used only for business-related purposes as specified in the loan application ai1d consistent witll the
              Paycheck Protection Program Rule.
         • To the extent feasible, I will purchase only American-made equipment and products.
         • The Applicant is not engaged in any activity that is illegal under federal, state or local law.
         • Any loa11 received by the Applicant under Section 7(b)(2) of the Small Business Act between January 31, 2020 and April 3, 2020 was
              for a purpose other tha11 paying payroll costs and other allowable uses loans under the Paycheck Protection Progrfilll Rule.

 For Applicants who are individuals: I authorize the SBA to request criminal record information about me from criminal justice agencies for the
 purpose of detem1ining my eligibility for prograins authorized by the Small Business Act, as an1ended.

 CERTIFICA11ONS
 The authorized representative of the Applicant must certify in good faith to all of the below by initialing next to each one:

            The Applicant was in operation on February 15, 2020 a11d had employees for whom it paid salaries a11d payroll taxes or paid independent
            contractors, as reported on Form(s) 1099-MISC.

            CuITent economic uncertainty makes this loan request necessary to support the ongoing operations of the Applicant.

            The funds will be used to retain workers and maintain payroll or make mortgage interest payments, lease payments, and utility payments,
            as specified under the Paycheck Protection Program Rule; I illldersta11d that if the filllds are knowingly used for unauthorized purposes,
            the federal government may hold me legally liable, such as for charges of fraud.

            The Applicant will provide to the Lender docmnentation verifying the number of full-time equivalent employees on the Applieant's
            payroll as well as tlle dollar amounts of payroll costs, covered mortgage interest payments, covered rent payments, and covered utilities
            for tlle eight-week period following this loan.

            I illldersta11d that loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage interest payments,
            covered rent payments, and covered utilities, and not more than 25% of the forgiven amount may be for non-payroll costs.

            During the period beginning on February 15, 2020 and ending on December 31, 2020, the Applicant has not ai1d will not receive anotl1er
            loan m1der the Paycheck Protection Program.

            I further certify that the information provided in this application and the information provided in all supporting doctm1ents and
            fonns is true and accurate in all material respects. I understand that knowingly making a false statement to obtain a guara11teed loan
            from SBA is punishable under the law, including m1der 18 USC 1001 and 3571 by imprisomnent ofnot more than five years and/or a
            fine ofup to $250,000; illlder 15 USC 645 by imprisonment of not more tllan two years and/or a fine of not more than $5,000; and, if
            submitted to a federally insured institution, under 18 USC 1014 by imprisonment of not more tllan thirty years and/or a fine of not
            more than $1,000,000.

            I acknowledge that the lender will confirm the eligible loan amount using required docill11ents submitted. I understand,
            acknowledge and agree that the Lender can share any tax information that I have provided witll SBA's authorized representatives,
            including authorized representatives of the SBA Office of Inspector General, for the purpose of compliance witl1 SBA Loan
            Program Require 1ts and all SBA reviews .

                                .". /:i.l ,-
  Signature of Autl1orized epresentative of Applicant                                                Date
                                                                                                               4/24/2020


                         Allison Baver                                                                         owner
  PrintNaine                                                                                        Title


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                                                         Paycheck Protection Program
                                                           Borrower Application Form


 Purpose of this form:

 This form is to be completed by the authorized representative of the Applicant and submitted to your SBA Participating Lender. Submission of
 the requested infon11a:tion is required to make a determination regarding eligibility for financial assistance. Failure to submit the information
 would affect thatdetennination.

 Instructions for completing this form:

 With respect to "purpose of the Joan;" payroll costs consist of compensation to employees (whose principal place of residence is the United
 States) in the fonn of salary, wages, commissions, or similar compensation; cash tips or the equivalent (based on employer records of past tips
 or, in the absence of such records, a reasonable, good-faith employer estimate of such tips); payment for vacation, parental, family, medical, or
 sick leave; allowance for separation or dismissal; payment for the provision of employee benefits consisting of group health care coverage,
 including insurance premiums, and retirement; payment of state and local taxes assessed on compensation of employees; and for an
 independent contractor or sole proprietor, wage, commissions, income, or net earnings from self-employment or similar compemmtion.

 For purposes of calculating "Average Monthly Payroll," most Applicants will use the average monthly payroll for 2019, excluding costs over
 $100,000 on an annualized basis for each employee. For seasonal businesses, the Applicant may elect to instead use average monthly payroll
 for the time period between February 15, 2019 and June 30, 2019, excluding costs over $100,000 on an arumalized basis for each employee.
 For new businesses, average monthly payroll may be calculated using the time period from January l, 2020 to February 29, 2020, excluding
 costs over $100,000 on a.11 annualized basis for each employee.

 If Applicant is refinancing an Economic Injury Disaster Loan (EIDL ): Add the outstanding amount of an EIDL made between January 31, 2020
 and April 3, 2020, less the amount of any "advance" under anEIDL COVID-19 loan, to Loan Request as indicated on the form.

 All parties listed below are considered owners of the Applicant as defined in 13 CFR § 120.10, as well as "principals":
   • For a sole proprietorship, the sole proprietor;
   • For a partnership, all general partners, and all limited partners ovming 20% or more of the equity of the firm;
   • For a corporation, all owners of20% or more ofthe corporation;
   • For lin1ited liability companies, all members owning 20% or more of the company; and
   • Any Trustor (if the Applicant is owned by a trust).
  Paperwork Reduction Act - You are not required to respond to this collection of infonnation unless it displays a currently valid 0MB
  Control Number. The estimated time for completing this application, including gathering data needed, is 8 minutes, Comments about this time
  or the infonnation requested should be sent to : Small Business Administration, Director, Records Management Division, 409 3rd St, SW,
  Washington DC 20416., and/or SBA Desk Officer, Office of Management a11d Budget, New Executive Office Building, Washiilgto11 DC
  20503.
  Privacy Act (5 U.S.C. 552a)- Under tl1e provisions of the Privacy Act, you are not required to provide your social security number. Failure to
  provide your social security number may not affect any right, benefit or privilege to which you are entitled. (But see Debt Collection Notice
  regarding taxpayer identification nmnber below.) Disclosures of name and other perso11al identifiers are required to provide SBA with
  sufficient information to make a character determination. When evaluating character, SBA considers the person's integrity, candor, and
  disposition toward criminal actions. Additionally, SBA is specifically authorized to verify your criminal history, or lack thereof, pursuant to
  section 7(a)(l )(B), 15 USC Section 636(a)(l )(B) of the Small Busi11ess Act (the Act).

  Disclosure of Information -Requests for information about anotl1er party may be denied unless SBA has the written pennission of the
  individual to release the information to the requestor or m1less the information is subject to disclosure Ullder the Freedom oflnfonnation Act.
  The Privacy Act autl1orizes SBA to make certain "routine uses" of infonnation protected by that Act. One such routine use is tl1e disclosure of
  information maintained in SBA' s system of records when this infomiation indicates a violation or potential violation of law, whether civil,
  criminal, or administrative in nature. Specifically, SBA may refer the infonnation to the appropriate agency, whether Federal, State, local or
  foreign, charged with responsibility for, or otherwise involved in investigation, prosecution, enforcement or prevention of such violations.
  Another routine use is disclosure to other Federal agencies conducting background checks but only to the extent the infonn.ation is relevant to
  the requestiJ.1g agencies' function. See, 74 F.R. 14890 (2009), and as amended from time to time for additional backgrom1d and other routiJ.1e
  uses. In addition, the CARES Act, requires SBA to register every loan made Ullder the Paycheck Protection Act using the Taxpayer
  Identification Number (TIN) assigned to the borrower.
  Debt Collection Act of 1982, Deficit Reduction Act of 1984 (31 U.S.C. 3701 et seq. and other titles) - SBA mu.st obtain your taxpayer
  identification number when you apply for a loan. If you receive a loan, a11d do not make payments as they come due, SBA may: (1) report the
  statns of your loan(s) to credit bureaus, (2) hire.a collection agency to collect your Joan, (3) offset your income tax reflllld or other aruounts
  due to you from the Federal Govemment, (4) suspend or debar you or your company from doing business with the Federal Govennnent, (5)
  refer your loan to the Department of Justice, or (6) foreclose on collateral or take oth«T action permitted in tl1e loan instruments.
  Right to Financial Privacy Act of 1978 (12 U.S.C. 3401) The Right to Financial Privacy Act of 1978, grants SBA access rights to
  financial records held by financial institutions that are or have been doing business with you or your business including any financial

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  institutions participating in a loan or loan guaranty. SBA is only required provide a certificate of its compliance with the Act to a financial
  institution in connection with its first request for access to your financial records. SBA's access rights continue for the tenn of any approved
  loan guaranty agreement. SBA is also authorized to transfer to another Government authority any financial records concerning an approved
  loan or loan guarantee, as necessary to process, service or foreclose on a.loan guaranty or collect on a defaulted loan guaranty.
  Freedom oflnformation Act (5 U.S.C. 552)- Subject to certain exceptions, SBA must supply information reflected in agency files and
  records to a person requesting it. Information about approved loans that will be automatically released includes, among other things, statistics
  on our loan programs (individual borrowers are not identified in the statisfics) and other :infom1ation such as the names of the borrowers (and
  their officers, directors, stockholders or partners), the collateral pledged to secure the loan, the amount of the loan, its purpose in general terms
  and the maturity. Proprietary data 011 a borrower would not routinely be made available to third parties. All requests under this Act are to be
  addressed to the nearest SBA office and be identified as a Freedom of Information request.
  Occupational Safety and Health Act (15 U.S. C. 651 et seq.) The Occupational Safety and Health Administration (OSHA) can require
  businesses to modify facilities and procedures to protect employees. Businesses that do not comply may be fined, forced to cease operations,
  or prevented from starting operations. Signing this form is certification that the applicant, to the best of its knowledge, is in compliance with
  the applicable OS.HA requirements, and will remain in compliance during the life of the loan.
  Civil Rights (13 C.F.R. 112, 113, 117) -All businesses receiving SBA financial assistance must agree not to discriminate in any business
  practice, including employment practices and services to the public on the basis of categories cited in 13 C.F .R., Parts 112, 113, and 117 of
  SBA Regulations. All borrowers must display the ''Equal Employment Opportunity Poster" prescribed by SBA.
  Equal Credit Opportunity Act (15 U.S. C. 1691) - Creditors are prohibited from discriminating against credit applicants on the basis of race,
  color, religion, national origin, sex, marital status or age (provided the applicant has the capacity to enter into a binding contract); because all
  or part of the applicant's income derives from any public assistance program; or because the applicant has in good faith exercised any right
  under the Consun1er Credit ProtectionAct.
  Debarment and Suspension Executive Order 12549; (2 CFR Part 180 and Part 2700) - By submitting this loan application, you certify
  that neither the Applicant or any owner of the Applicant have within the past three years been: (a) debarred, suspended, declared :ineligible or
  voluntarily excluded from participation in a transaction by any Federal Agency; (b) formally proposed for debarment, with a final
  determination still pending; (c) indicted, convicted, or had a civil judgment rendered against you for any of the offenses listed in the
  regulations or (d) delinquent on any amollllts owed to the U.S. Govenunent or its :instrun1e11talities as of the date of execution of this
  certification.




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